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                     IN THE UNITED STATES DISTRICT COURT FOR TOE
                              EASTERN DISTRICT OF VIRGINIA                    ru      0 s. DISTRICT i.
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                                   ALEXANDRIA DIVISION


 UNITED STATES OF AMERICA


                V.                                    Case No. l:20-CR-000I0-LO


 CHARLES O'NEIL,

                Defendaiil.




                                   STATEMENT OF FACTS


       The United States and the defendant, CHARLES O'NEIL (hereinafter, O'NEIL or ''the

defendant"), agree that at trial, the United States would have proven the following facts beyond a

reasonable doubt with admissible and credible evidence:

       1.      From in or about January 2015 through in or about October 2015, in the Eastern

District of Virginia and elsewhere, the defendant knowingly conspired and agreed with other

persons both known and unknown, including Kelley Rogers and Scott B. Mackenzie, to commit

offenses against the United States, that is to willfully make federal campaign contributions in the

name of another person and permit one's name to be used to effect such contributions, and cause

another to accept contributions made by one person in the name of another person, which

contributions aggregated more than $ 10,000 in calendar year 2015.

       2.      The defendant was Vice President of Strategic Campaign Group, Inc., a political

consulting company located in Arlington, Virginia. Rogers was President of Strategic Campaign

Group, Inc. Mackenzie, a resident of Arlington, Virginia, was a business associate of O'NEIL

and Rogers.    Documents submitted to the Federal Election Commission ("FEC") identify

Mackenzie as the treasurer for approximately fifty-two (52) separate Political Action Committees.
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